                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               FLORENCE DIVISION


 UNITED STATES OF AMERICA                            Crim. No. 4:22-cr-00738-JD

                      V.                                 AMENDED PLEA AGREEMENT

 TROY BENJAMIN BITTNER

                                     General Provisions


      This PLEA AGREEMENT is made this ;~/- day of               /45~ , 2023, between the
United States of America, as represented by United States Attorney ADAIR F. BOROUGHS,

Assistant United States Attorney Lauren L. Hummel , the Defendant, TROY BENJAMIN

BITTNER, and Defendant' s attorney, Michael Meetze.

      INCONSIDERATION of the mutual promises made herein, the parties agree as follows:

   1. The Defendant agrees to waive Indictment and arraignment and plead guilty to Counts One

      and Two of an Information charging (1) willfully filing a false tax return in violation of

      Title 26, United States Code Section7206(1 ); and (2) wire fraud in violation of Title 18,

      United States Code, Section 1343.


      In order to sustain its burden of proof, the Government is required to prove the following:

                                         Count 1
                               (Wire Fraud-18 USC. § 1343)

             A.      The Defendant knowingly devised or knowingly participated in a scheme or
                     artifice to defraud and to obtain money or property by means of materially
                     false or fraudulent pretenses, representations, or promises as detailed in the
                     Information ;

             B.      The Defendant did so with the intent to defraud ; and
             C.     In advancing, or furth ering, or carrying out this scheme to defraud and to
                    obtain money or property by means of false or fraudulent pretenses,
                    representations, or promises, the defendant transmitted any writing, signal,
                    or sound by means of a wire, radio, or television communication in interstate
                    commerce or caused the transmission of any writing, signal, or sound of
                    some kind by means of a wire, radio, or television communication in
                    interstate commerce.

     The possible penalties for this offense are:

     Imprisonment for not more than 20 years (18 U.S.C. § 1343)
     Fine of $250,000 or the greater of twice the gross gain or gross loss of the offense (18
     U.S.C. § 3571)
     Supervised Release of not more than 3 years (18 U.S.C. §§ 3583 , 3559)
     Special Assessment of $100 (18 U.S.C. § 3013)

                                           Count 2
                        (Filing a False Return - 26 U S C§ 7206(1))

             A.     The Defendant made, or caused to be made, and signed a tax return for the
                    year in question containing a written declaration;

             B.     The tax return was made under the penalties of perjury;

             C.     The Defendant did not believe the return to be true and correct as to every
                    material matter; and

             D.     The Defendant acted willfully.

     The possible penalties for this offense are :

     Imprisonment for not more than 3 years (26 U .S.C. § 7206)
     Fine of$100,000, plus the costs of prosecution (26 U.S.C. § 7206)
     Supervised Release of not more than one year (18 U.S .C. §§ 3583 , 3559)
     Special Assessment of $100 (18 U.S.C. § 3013)

2.   The Defendant understands and agrees that monetary penalties [i.e., special assessments,

     restitution, fines and other payments required under the sentence] imposed by the Court

     are due and payable immediately and subject to enforcement by the United States as civil

     judgments, pursuant to 18 USC § 3613 . In the event the Court imposes a schedule for

     payment of restitution, the Defendant also understands that payments made in accordance




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with installment schedules set by the Court are mm1mum payments only and do not

preclude the government from seeking to enforce the judgment against other assets of the

Defendant at any time, as provided in 18 USC§§ 3612, 3613 and 3664(m). The Defendant

further agrees to enter into the Bureau of Prisons Inmate Financial Repayment Program if

sentenced to a term of incarceration with an unsatisfied monetary penalty. The Defendant

further understands that any monetary penalty imposed is not dischargeable in bankruptcy.

       A.     Special Assessment: Pursuant to 18 U.S.C. §3013, the Defendant must pay
              a special assessment of $100.00 for each felony count for which he/she is
              convicted. This special assessment must be paid at or before the time of the
              guilty plea hearing or during participation in the Bureau of Prisons Inmate
              Financial Repayment Program if this plea results in incarceration.

       B.     Restitution as to Count l: The Defendant agrees to make full restitution
              under 18 U.S.C. § 3556 in an amount to be determined by the Court at the
              time of sentencing, which amount is not limited to the count(s) to which the
              Defendant pied guilty, but will include restitution to each and every
              identifiable victim who may have been harmed by his scheme or pattern of
              criminal activity, pursuant to 18 U.S.C. § 3663. The Defendant agrees to
              cooperate fully with the Government in identifying all victims. Upon
              demand, the Defendant shall submit a personal financial statement under
              oath and submit to interviews by the government and the U.S. Probation
              Office regarding the Defendant's capacity to satisfy any fines or restitution.
              The Defendant expressly authorizes the U.S. Attorney's Office to
              immediately obtain a credit report on the Defendant in order to evaluate the
              Defendant's ability to satisfy any financial obligation imposed by the Court.
              The Defendant understands that the Defendant has a continuing obligation
              to pay in full as soon as possible any financial obligation imposed by the
              Court.

       C.     Restitution as to Count 2: Defendant also agrees to pay restitution to the IRS
              in the total amount as noted in the below table:

                                                   2020          2021            Total
                Omitted Income                    $45,013      $783,503        $828,516
                Additional Tax Due and            $11,041      $270,686        $281,727
                Owing

              The Defendant agrees that the total amount of restitution reflected in this
              agreement results from Defendant's fraudulent conduct. Defendant agrees
              to pay interest on the restitution amount pursuant to 18 U.S.C. § 3663(a);


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interest runs from the last date prescribed for payment of the relevant tax
through the date of sentencing.

Defendant agrees that restitution is due and payable immediately after the
judgment is entered and is subject to immediate enforcement, in full , by the
United States. If the Court imposes a schedule of payments, Defendant
agrees that the schedule of payments is a schedule of the minimum payment
due, and that the payment schedule does not prohibit or limit the methods
by which the United States may immediately enforce the judgment in full.
The IRS will use the amount of restitution ordered as the basis for a civil
assessment under 26 U.S .C. § 6201 (a)(4). Defendant does not have the right
to challenge the amount of this restitution-based assessment. See 26 U .S.C.
§ 6201(a)(4)(C). Neither the existence of a restitution payment schedule
nor Defendant's timely payment of restitution according to that schedule
will preclude the IRS from immediately collecting the full amount of the
restitution-based assessment.

Defendant is entitled to receive credit for restitution paid pursuant to this
plea agreement against those assessed civil tax liabilities due and owing for
the same periods for which restitution was ordered. Defendant understands
and agrees that the plea agreement does not resolve the Defendant' s civil
tax liabilities, that the IRS may seek additional taxes, interest and penalties
from Defendant relating to the conduct covered by this plea agreement and
for conduct relating to another time period, and that satisfaction of the
restitution debt does not settle, satisfy, or compromise Defendant' s
obligation to pay any remaining civil tax liability. Defendant authorizes
release of information to the IRS for purposes of making the civil tax and
restitution-based assessments.

Defendant understands that Defendant is not entitled to credit with the IRS
for any payment until the payment is received by the IRS.

If full payment cannot be made immediately, Defendant agrees to make a
complete and accurate financial disclosure to the IRS on forms prescribed
by the TRS (including, but not limited to , IRS Form 433-A and Form 433-
B, as appropriate), and to disclose to the IRS any and all additional financial
information and financial statements provided to the probation office.
Defendant also agrees to provide the above-described information to the
probation office.

If Defendant makes a payment of restitution prior to sentencing, the
payment will be applied as a credit against the ordered restitution amount.

Defendant agrees to send all payments made pursuant to the court' s
restitution order to the Clerk of the Court at the following address:




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                    Clerk, U.S. District Court
                    Matthew J. Perry, Jr. Courthouse
                    901 Richland Street
                    Columbia, SC 2920 l

     With each payment to the Clerk of the Court made pursuant to the District
     Court' s restitution order, Defendant will provide the following information:

            A. Defendant's name and Social Security number;
            B. The District Court and the docket number assigned to this case;
            C. Tax year(s) or period(s) for which restitution has been ordered;
            and
            D. A statement that the payment is being submitted pursuant to the
            District Court' s restitution order.

     Defendant agrees to include a request that the Clerk of the Court send the
     information, along with Defendant' s payments, to the IRS address below:

            IRS - RACS
            Attn: Mail Stop 6261 , Restitution
            333 W. Pershing Ave.
            Kansas City, MO 64108

     Defendant also agrees to send a notice of any payments made pursuant to
     this agreement, including the information listed in the previous paragraph,
     to the IRS at the following address:

            IRS - RACS
            Attn: Mail Stop 6261 , Restitution
            333 W. Pershing Ave.
            Kansas City, MO 64108

     Upon demand, the Defendant shall submit a personal financial statement
     under oath and submit to interviews by the government and the U.S.
     Probation Office regarding the Defendant's capacity to satisfy any fines or
     restitution. The Defendant expressly authorizes the U.S. Attorney's Office
     to immediately obtain a credit report on the Defendant in order to evaluate
     the Defendant's ability to satisfy any financial obligation imposed by the
     Court. The Defendant understands that the Defendant has a continuing
     obligation to pay in full as soon as possible any financial obligation imposed
     by the Court.

D.   Fines: The Defendant understands that the Court may impose a fine
     pursuant to 18 U.S.C. §§ 3571 and 3572.




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3.   Provided the Defendant complies with all the terms of this Agreement, the United States

     agrees to move to dismiss any indictments under this number at sentencing. The Defendant

     understands that the Court may consider these dismissed counts as relevant conduct

     pursuant to § 1B 1.3 of the United States Sentencing Guidelines.

4.   The Defendant understands that the obligations of the Government within the Plea

     Agreement are expressly contingent upon the Defen_d ant' s abiding by federal and state laws

     and complying with any bond executed in this case. In the event that the Defendant fails

     to comply with any of the provisions of this Agreement, either express or implied, the

     Government will have the right, at its sole election, to void all of its obligations under this

     Agreement and the Defendant will not have any right to withdraw his/her plea of guilty to

     the offense(s) enumerated herein.

                                           Forfeiture

5.   The Defendant agrees to voluntarily surrender to, and not to contest the forfeiture of any

     and all assets and property, or portions thereof, which are subject to forfeiture pursuant to

     any provision of law, including but not limited to, property in the possession or control of

     the Defendant or Defendant' s nominees. The Defendant agrees to voluntarily surrender,

     and not contest the forfeiture of property identified in the Information, and any forfeiture

     Bill of Particulars. The assets to be forfeited specifically include, but are not limited to,

             A.     Cash Proceeds/Forfeiture Judgment :

                     A sum of money equal to all property the Defendant obtained as a result of
                     the wire fraud offenses charged in this Information, and all interest and
                     proceeds traceable thereto as a result of his violation of 18 U.S.C. § 1343.

     With regard to each and every asset listed in the Information or seized in a related

     investigation or administrative, state, or local action, the Defendant stipulates and agrees:




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The Defendant agrees and consents to the forfeiture of these assets pursuant to any
federal criminal , civil judicial or administrative forfeiture action. The Defendant also
hereby agrees to waive all constitutional, statutory and procedural challenges in any
manner (including direct appeal , habeas corpus, or any other means) to any forfeiture
carried out in accordance with this Plea Agreement on any grounds, including that the
forfeiture described herein constitutes an excessive fine , was not properly noticed in
the charging instrument, addressed by the Court at the time of the guilty plea,
announced at sentencing, or incorporated into the judgment.

To its forfeiture herein, if necessary as substitute property under 21 U.S.C. § 853(p), as
made applicable by 18 U .S.C. § 982(b)(l) or any other statute, or in a separate
administrative or civil judicial proceeding.

That the Defendant has or had a possessory interest or other legal interest in each item
or property.

To assist the United States in the recovery of all assets by (i) taking whatever steps are
necessary or requested by the United States to pass clear title to the United States; (ii)
preventing the disbursement of any moneys and sale of any property or assets; (iii) not
encumbering or transferring any real estate after the Defendant' s signing of this Plea
Agreement; and (iv) directing all financial institutions to turn over and surrender to the
United States all funds and records regarding accounts listed in any document signed
by the Defendant pursuant to this plea agreement, as criminal proceeds or substitute
property.

The Defendant waives all rights to notice of forfeiture under Rule 32.2 and of any other
action or proceeding regarding such assets. The Defendant consents and waives all
rights to compliance by the United States with any applicable deadlines under 18
U.S .C. § 983(a). Any related administrative claim filed by the Defendant is hereby
withdrawn.

Pursuant to Rule 32.2(b)(4), the Defendant agrees that the preliminary order of
forfeiture will satisfy the notice requirement and will be final as to the Defendant at the
time it is entered. In the event the forfeiture is omitted from the judgment, the
Defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

If the United States discovers that the Defendant has not fully disclosed all assets, the
United States may seek forfeiture of any subsequently-discovered assets, and the
Defendant agrees to the immediate forfeiture of any such assets.

The Defendant further agrees to make a full and complete disclosure of all assets over
which Defendant exercises control and those which are held or controlled by nominees.
The Defendant agrees that Federal Rule of Criminal Procedure 11 and U.S.S.G. § 1B 1.8
will not protect from forfeiture , assets disclosed by the Defendant as part of his/her




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        cooperation. The Defendant further agrees to submit to a polygraph examination on
        the issue of assets if it is deemed necessary by the United States.

        The Defendant agrees to waive any double jeopardy claims the Defendant may have as
        a result of a forfeiture proceeding against any of these properties as provided for by this
        Plea Agreement and agrees to waive any claims that the forfeiture described herein
        constitutes an excessive fine.

        Forfeiture of the Defendant's assets shall not be treated as satisfaction of any fine ,
        restitution, cost of imprisonment, or any other penalty the Court may impose upon the
        Defendant in addition to forfeiture. The United States may use the value of forfeited
        property for restitution, but is not required to do so.

6.   The Defendant also agrees to voluntarily transfer all right, title, interest and claim in the

     above-described property and/or assets to the United States of America. Furthermore, the

     Defendant attests, under penalty of perjury, that the Defendant owns the above-described

     property and/or assets free of any liens and encumbrances, and that no other person or

     entity has a claim to the above-described property and/or assets.

                                Merger and Other Provisions

7.   The Defendant represents to the court that he/she has met with his/her attorney on a

     sufficient number of occasions and for a sufficient period of time to discuss the Defendant' s

     case and receive advice; that the Defendant has been truthful with his/her attorney and

     related all information of which the Defendant is aware pertaining to the case; that the

     Defendant and his/her attorney have discussed possible defenses, if any, to the charges in

     the Information including the existence of any exculpatory or favorable evidence or

     witnesses, discussed the Defendant' s right to a public trial by jury or by the Court, the right

     to the assistance of counsel throughout the proceedings, the right to call witnesses in the

     Defendant' s behalf and compel their attendance at trial by subpoena, the right to confront

     and cross-examine the Government' s witnesses, the Defendant' s right to testify in his/her

     own behalf, or to remain silent and have no adverse inferences drawn from his/her silence;



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      and that the Defendant, with the advice of counsel, has weighed the relative benefits of a

      trial by jury or by the Court versus a plea of guilty pursuant to this Agreement, and has

      entered this Agreement as a matter of the Defendant's free and voluntary choice, and not

      as a result of pressure or intimidation by any person.

8.    The Defendant is aware that 18 U.S .C. § 3742 and 28 U.S.C. § 2255 afford every defendant

      certain rights to contest a conviction and/or sentence. Acknowledging those rights, the

      Defendant, in exchange for the concessions made by the Government in this Plea

      Agreement, waives the right to contest either the conviction or the sentence in any direct

      appeal or other post-conviction action, including any proceedings under 28 U.S.C . § 2255.

      This waiver does not apply to claims of ineffective assistance of counsel , prosecutorial

      misconduct, or future changes in the law that affect the defendant' s sentence. This

      agreement does not affect the rights or obligations of the Government as set forth in 18

      U.S.C. § 3742(b). Nor does it limit the Government in its comments in or responses to any

      post-sentencing matters.

9.    The Defendant waives all rights, whether asserted directly or by a representative, to request

      or receive from any department or agency of the United States any records pertaining to

      the investigation or prosecution of this case, including without limitation any records that

      may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act

      of 1974, 5 U.S .C. § 552a.

10.   The parties hereby agree that this Plea Agreement contains the entire agreement of the

      parties; that this Agreement supersedes all prior promises, representations and statements

      of the parties; that this Agreement shall not be binding on any party until the Defendant

      tenders a plea of guilty to the court having jurisdiction over this matter; that this Agreement




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       may be modified only in writing signed by all parties; and that any and all other promises,

       representations and statements, whether made prior to, contemporaneous with or after this

       Agreement, are null and void.




Date                                   TROY    AMIN BITTNER,
                                       DEFENDANT




Date


                                       ATTORNEY FOR THE DEFENDANT


                                       ADAIR F. BOROUGHS
                                       UNITED STATES ATTORNEY




Date                                   LAUREN L. HUMMEL
                                       ASSISTANT UNITED STATES ATTORNEY




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